Case: 1:16-Cv-10903 Document #: 1-3 Filed: 11/28/16 Page 1 of 2 Page|D #:23

EXH|B|T 3

Case: 1:16-Cv-10903 Document #: 1-3 Filed: 11/28/16 Page 2 of 2 Page|D #:24

 

A_M!iatedAcoeptance Co)y)or'a!ion

 

 

 

P. O. Box 79000] 1 .
Su”me Beadh Mo 65079_900! Affihated Accepinnce Corporatlon
(573) 374-9970 Posc 0ch Box 790001
;\PDRD‘SS SERVICE REQUESTED * (800) 233-8483 Sunrise Beach, Missouri
IMP°RTANT M°RMA“°N ENCL°SED * (573) 374-9972 (Fax) USA 65079-9001
Customer Servioe Hours: 8:00 am to 9:00 pm Mon. ~ Tlmr.
Central Tims 8:00 am to 5:00 pm Fridny
Custome.r Servioe Wob Site: m.grufinserv.com
Statement Datc: 21 DEC 2015
lllu|ll\llmlllllllllll"|\|lll|ll|l"l:lll|allu|llhhlll|lll
RYAN RODMAN , _ _
518 CLARENCE AVE YOUR AAC ACCOUNT #. 4546 58 0432
OAK PARK IL 60304-1302 Agrecment with;
EF BODYWORKS

 

 

Dear RYAN RODMAN:

Scheduied Payment Amount: $17.50 Baiance Due from Previous Statement: $0.00

Pravious Transactions

    

 

Fea

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P|aaaa contact AAC 10 bring your acmuni current. Cail ioii free 1-800-233~8483 and ask for Cusiomer Sew|oo.Requaafa for one-time payments wli take
48 lo 72 hours to post on the aooounl.

Once payment ls reae|ved, the above accouni wli be oloeed.

"The following notice is given in accordance to Fedarnl requiremenis"
Thin oomnnmicallon la irom a debi coilector. Thls is an attempt to coith a debt and aii information obtained will be used for ihuf purpoaa.
Aoceas your account onlino at: mgmmng. Coniact AAC at: custcmerserv|ca@proiinsorv.com

    
 

(Clip along dottcd line and tatum with your paymeni,)

 

 

 

Muko payments payable io: Cusiomer Servlco:
Amlinf.€d AOCeptallC€ CO!‘}JOI`&UOI\ 1~800-233-8483

P. O. BQK 79000], Siml'is¢ B¢fich, MO 65079-9001

RE: EF BO DYWORKS

NAl\/HZ! RYAN RODMAN

ACCOUNT: 4546~58»0432

RECBIVBD BY: 01 JAN 2016 $17.50 DUE
AFTER: 11 JAN 2016 $22.50 DUE

 

RBT~URN OOUPON WI'I`H YOUR PAYMENT

 

 

 

 

 

